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                          UNITED STATES DISTRICT CO URT
                          SO UTHERN DISTRICT O F FLO RIDA
                           Case No.17-21897-CIV-W ILLIAM S

  DESIREE G OO DE,

        Plaintiff,

  VS.

  CARNIVAL CO RPO RATIO N,etal,

        Defendants.
                               /

   O RDER REQUIRING JO INT STIPULATION O F DISM ISSAL A ND CLOSING CASE

        THIS MATTER is before the Courton the Parties'notice ofsettlement(DE 12)
  indicating thatthe Padies have reached a settlem ent in this m atter. Accordingly,itis

 ORDERED AND ADJUDGED thatonorbefore May 28,2018,the Padiesshallfileajoint
 stipulation to dism iss. Ifthe Parties wish forthe Courtto retain jurisdiction,they are
 advised thatthey m ust subm itthe settlementagreem entforreview and any stipulation

  m ustcom ply with the Eleventh Circuit's holding in Anago Franchising,Inc.v.Shaz,LLC,

 677 F.3d 1272 (11th Cir. 2012). The Clerk is directed to CLOSE this case for
 adm inistrative purposes.

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                                              s/uedayofApril,2018.
                                                KAT    N M .W ILLIAM S
                                                UNITE STATES DISTRICT JUDGE
